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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK
In re:

        SUSANNAH R. APPELBAUM
                                                                   OBJECTION TO
                                                                   CONFIRMATION
                                                                   Chapter 13
                                             DEBTOR.
                                                                   Case No.: 17-35930-cgm




         I, Kevin P. Hoenig, Esq., an attorney duly licensed to practice law in the State of New

York and admitted in the Southern District of New York, affirms the following to be true, under

penalty of perjury:

         1.     I am a partner with the firm of Woods Oviatt Gilman LLP, attorneys for the Wells

                Fargo Bank, N.A. (“Secured Creditor”).

         2.     Secured Creditor is the Holder of a Note and Mortgage secured by real property

                commonly known as 362 Springtown Rd, New Paltz, NY 12561; which is

                identified with a loan number bearing the last four digits of 4922.

         3.     This Affirmation is submitted for the purpose of objecting to confirmation of the

                Chapter 13 Plan proposed by Susannah R. Appelbaum (the “Debtor”).

         4.     The Debtor's proposed Plan fails to provide for payment of pre-petition arrears.

                However, the Proof of Claim filed on behalf of Wells Fargo asserts pre-petition

                arrears in the amount of $2,302.11. A copy of said Proof of Claim is attached

                hereto as Exhibit ‘A’.

         5.     Accordingly, the Debtor's proposed Plan lists incorrect pre-petition arrears.




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         6.    By virtue of the foregoing, confirmation of the Debtor's proposed Chapter 13 Plan

               must be denied pursuant to 11 U.S.C. §1325.



Dated: July 12, 2017


                                                      /s/ Aleksandra K. Fugate, Esq.
                                                   Aleksandra K. Fugate, Esq.
                                                   Woods Oviatt Gilman LLP
                                                   Attorneys for Secured Creditor
                                                   700 Crossroads Building
                                                   2 State Street
                                                   Rochester, NY 14614
                                                   716-248-3234




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                                    Exhibit
                                          A




       
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  Fill in this information to identify the case:             Pg 4 of 9
                     SUSANNAH R. APPELBAUM


  (Spouse i iling)



                 17-35930




 Official Form 410
 Proof of Claim                                                                                                                                                           04/16

 Read the instructions before filling out this form. Use this form to make a claim for payment in a bankruptcy case. Do not use this form to
 make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.
 The law requires that filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted
 copies of any documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts,
 contracts, judgments, mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents
 are not available, explain in an attachment.
 A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.
 Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.


 Part 1:      Identify the Claim

                               Wells Fargo Bank, N.A.
1. Who is the current
                               Name of the current creditor (the person or entity to be paid for this claim)
    creditor?
                               Other names the creditor used with the debtor



2. Has this claim been                 No
    acquired from
    someone else?                      Yes. From whom?

3. Where should notices         Where should notices to the creditor be sent?                              Where should payments to the creditor be sent? (if
    and payments to the                                                                                    different)
    creditor be sent?          Wells Fargo Bank, N.A. Home Equity Group                                    Wells Fargo Operations Center
                                Name                                                                       Name
   Federal Rule of
   Bankruptcy Procedure
   (FRBP) 2002(g)               1 Home Campus X2303-01A                                                    P.O. Box 31557 B6955-01B
                                Number          Street                                                     Number          Street

                               Des Moines                          IA                   50328-0001         Billings                        MT                         59107
                                City                              State                   ZIP Code         City                                   State                  ZIP Code

                                Contact phone     1-877-891-0002                                           Contact phone    1 -8 7 7 - 8 9 1 - 0 0 0 2

                                Contact email     HEQBANKRUPTCYCH13@wellsfargo.com                         Contact email    HEQBANKRUPTCYCH13@wellsfargo.com




                                Uniform claim identifier for electronic payments in chapter 13 (if you use one):
                                WFCHEQ1735930NYS33004922



4. Does this claim amend               No
    one already filed?
                                       Yes. Claim number on court claims registry (if known)                                             Filed on
                                                                                                                                                          MM   / DD    / YYYY



5. Do you know if anyone               No
    else has filed a proof             Yes. Who made the earlier filing?
    of claim for this claim?
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 Part 2:    Give Information About the Claim as of the Date the Case Was Filed

6. Do you have any number            No
   you use to identify the           Yes. Last 4 digits of the debtor’s account or any number you use to identify the debtor: 4922
   debtor?


7. How much is the claim?          $175,315.16                             . For leases state only the amount of default.

                                                                             Does this amount include interest or other charges?
                                                                                No
                                                                                 Yes. Attach statement itemizing interest, fees, expenses, or
                                                                                      other charges required by Bankruptcy Rule 3001(c)(2)(A).

8. What is the basis of the      Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful death, or credit card.
   claim?
                                 Attach any documents supporting the claim required by Bankruptcy Rule 3001(c).
                                 Limit disclosing information that is entitled to privacy, such as healthcare information.

                                 Money loaned



9. Is all or part of the claim       No
   secured?                          Yes. The claim is secured by a lien on property.
                                           Nature of property:
                                               Real estate. If the claim is secured by the debtor’s principal residence, file a Mortgage Proof of
                                                            Claim Attachment (Official Form 410-A) with this Proof of Claim.
                                               Motor vehicle
                                               Other. Describe: 362 SPRINGTOWN RD NEW PALTZ, NY 12561



                                           Basis for perfection:          Mortgage/Deed of Trust
                                           Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for
                                           example, a mortgage, lien, certificate of title, financing statement, or other document that shows the lien has
                                           been filed or recorded.)



                                           Value of property:                            $
                                           Amount of the claim that is secured:          $175,315.16

                                           Amount of the claim that is unsecured: $                               (The sum of the secured and unsecured
                                                                                                                  amounts should match the amount in line 7.)



                                           Amount necessary to cure any default as of the date of the petition:              $2,302.11



                                           Annual Interest Rate (when case was filed) 3.500%
                                               Fixed
                                               Variable



10. Is this claim based on a         No
    lease?
                                     Yes. Amount necessary to cure any default as of the date of the petition.               $


11. Does this claim involve          No
    a right to setoff?
                                     Yes. Explain:
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12. Is all or part of the claim        No
    entitled to priority under
    11 U.S.C. § 507(a)?                Yes. Check all that apply:

   A claim may be partly                    Domestic support obligations (including alimony and child support) under
   priority and partly                      11 U.S.C. § 507(a)(1)(A) or (a)(1)(B).                                                                   $
   nonpriority. For example,
   in some categories, the                  Up to $2,850* of deposits toward purchase, lease, or rental of property or services for
   law limits the amount                    personal, family, or household use. 11 U.S.C. § 507(a)(7).                                               $
   entitled to priority.
                                            Wages, salaries, or commissions (up to $12,850*) earned within 180 days before the
                                            bankruptcy petition is filed or the debtor’s business ends, whichever is earlier.                        $
                                            11 U.S.C. § 507(a)(4).
                                            Taxes or penalties owed to governmental units. 11 U.S.C. § 507(a)(8).                                    $

                                            Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5).                                        $

                                            Other. Specify subsection of 11 U.S.C. § 507(a)(              ) that applies.                            $

                                       *



Part 3:     Sign Below

The person completing             Check the appropriate box:
this proof of claim must
sign and date it.                      I am the creditor.
FRBP 9011(b).                          I am the creditor’s attorney or authorized agent.
If you file this claim                 I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
electronically, FRBP
5005(a)(2) authorizes courts           I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
to establish local rules
specifying what a signature
is.                               I understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating the
                                  amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
A person who files a
fraudulent claim could be         I have examined the information in this Proof of Claim and have a reasonable belief that the information is true
fined up to $500,000,             and correct.
imprisoned for up to 5
years, or both.
                                  I declare under penalty of perjury that the foregoing is true and correct.
18 U.S.C. §§ 152, 157 and
3571.
                                  Executed on date          06/14/2017
                                                        MM      DD       YYYY




                                                   /s/Eric Houdek
                                        igna ure


                                  Print the name of the person who is completing and signing this claim:


                                                      Eric Houdek
                                                       ir    name                              Middle name                              La   name




                                                       den i y he corpora e servicer as he company i he au horized agen is a servicer




                                                      Number              S ree

                                                       Des Moines                                                        IA             50328-0001
                                                      Ci y                                                                 ae                Code
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Part1: Mortgage and Case Information               Part 2: Total Debt Calculation        Part73 of
                                                                                         Pg     Arrearage
                                                                                                   9      as of Date of Petition       Part 4: Monthly Mortgage Payment
                                                                                                   Principal & interest
Case number:                       17-35930        Principal balance:              170004.19                                    2302.11                    Principal & interest:
                                                                                                   due:                                                                                      495.84
                                  Susannah R.
Debtor 1:                                          Interest due:                     4015.97        Prepetition fees due:        0.00                       Monthly escrow:
                                  Appelbaum
                                                                                                                                                                                              N/A
                                                                                                   Escrow deficiency for                                    Private mortgage
Debtor 2:                                          Fees, costs due:                   0.00                                       N/A
                                                                                                   funds advanced:                                              insurance:                    N/A
                                                   Escrow deficiency for                           Projected escrow
Last 4 digits to identify:           4922                                             N/A                                        N/A                        Optional product:
                                                   funds advanced:                                 shortage:                                                                                  0.00
                               Wells Fargo Bank,                                                                                                              Total monthly
Creditor:                                          Other:                            1295.00       Other:                        0.00
                                      N.A.                                                                                                                      payment:                     495.84

Servicer:                            N/A           Less total funds on hand:          N/A          Less funds on hand:           N/A                      *Additional changes to monthly payment
                                                                                                                                                          amount may be required because interest rate
Fixed Accrual/Daily          Avg Daily Balance     Total debt:                     175315.16       Total Prepetition                                      adjustments or escrow requirement changes
                                                                                                                                2302.11
Simple Interest/Other:                                                                             arrearage:
Part 5: Loan Payment History from First Date of Default
    A         B       C         D          E         F                           G             H        I              J    K             L      M            N           O            P              Q
Date         Contractual Funds         Amount      Description Contractual Prin, Int & Amount to Amount to Amount to Amount to Unapplied Principal        Accrued     Escrow       Fees /       Unapplied
             payment     received      incurred                due date    Escr past principal interest    escrow    fees or   Funds     balance          interest    balance      Charges      funds
             amount                                                        due                                       charges                              balance                  balance      balance
                                                                           balance

 01/19/17                                            Beg Bal                                                                                  170004.19
 01/19/17       425.01                               Pmt Due       01/19/17    425.01                                                         170004.19
 02/19/17       460.42                               Pmt Due       01/19/17    885.43                                                         170004.19
 03/19/17       460.42                               Pmt Due       01/19/17    1345.85                                                        170004.19
 04/19/17       460.42                               Pmt Due       01/19/17    1806.27                                                        170004.19
 05/19/17       495.84                               Pmt Due       01/19/17    2302.11                                                        170004.19
 05/29/17                                            BK Filed      01/19/17    2302.11                                                        170004.19
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                                                                Addendum Page


Basis for asserting that the applicable party has the right to foreclose:

Debtor(s) executed a Creditor’s home equity line of credit agreement (the “Debt Agreement”) and agreed to be bound by its terms. The Debt
Agreement is secured by a mortgage or deed of trust. Creditor is the original mortgagee/successor or beneficiary of the mortgage or deed of
trust.

Additional Disclaimers (where applicable)

As permitted under the terms of the underlying indebtedness document, Wells Fargo Bank, N.A. has previously advanced $1,295.00 to pay for
insurance coverage on the subject property where appropriate insurance coverage was not otherwise obtained or documentation provided by
the account holder. No escrow account was established and the amounts advanced were added to the account balance at the time of the
advance.

“The debtor(s) liability for repaying this indebtedness was discharged in a prior Chapter 7 case. This claim is being filed in rem. To the extent
the claim includes pre-petition arrears, it is done due to the debtor’s inclusion of the arrears in the plan.



410

         Part 2: Question 9-Describe contains the property address.



410A

         Part 2:

         Principal Balance is from Part 5, Column M as of the Bankruptcy File Date.

         Interest Due is the interest due as of the Bankruptcy File Date.

         Fees, costs due is from Part 5, Column P as of the Bankruptcy File Date and includes any outstanding fees (i.e. late charges, property
         inspections) and cost (i.e. attorney costs), also included are corporate advances (i.e. tax, insurance) for non-escrowed loans as of the
         Bankruptcy File Date. Any fees, costs due that are incurred pre-petition and waived post-petition will not be included.

         Other includes any applicable Lender Placed Insurance or other Optional Products (i.e. A & H, Life) due as of the Bankruptcy File
         Date. This line was added to ensure transparency.

         Total Debt not to be used for payoff purposes.

         Part 3:

         Principal and Interest is the principal and interest portion of Part 5, Column G, as of the Bankruptcy File Date.

         Pre-Petition Fees Due is from Part 5, Column P as of the Bankruptcy File Date. Any fees, costs due that are incurred pre-petition and
         waived post-petition will not be included.

         Other includes any applicable Lender Placed Insurance or Optional Products (i.e. A & H, Life) due as of the bankruptcy file date. This
         line was added to ensure transparency.

         Part 4:

         Optional Products includes any applicable Lender Placed Insurance or optional products (i.e. A & H, Life) due as of the Bankruptcy File
         Date. This line was added to ensure transparency.

         (*)This disclaimer has been added to the form to explain that the monthly payment amount may change periodically throughout the life
         of the loan.
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